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                                                                  X1(20guy ~^
 1 Andre Andrews                                                       ~ ~~
   404 East l st Street #1405
 2 Long Beach, CA 90802
 3 Telephone:(562)277-5602
 4
      Plaintiff in Pro Per
 5
 6
 7
 8            UNITED STATES DISTRICT COURT FOR THE CENTRAL
 9                               DISTRICT OF CALIFONRIA
10
      Andre Andrews,                           2:18-cv-09832 PSG(RAOx)
11
                    Plaintiff,
12                                             Plaintiffs Response To Defendant's
13                                             Motion To Dismiss Plaintiffs Claim
            vs.                                Against Defendant CSU
14                                                         AND
15                                             Plaintiffs Request To Have Case
      CSU Police Department, et al
16                                             Remanded Back To State Court
                   Defendants.
17
18
19
20
21
22 TO THE COURT AND TO ALL PARTIES:
23
24    1.    TAKE NOTICE that the following is the Plaintiff's Response to

25 Defendant's Motion to Dismiss the Plaintiff's Claim, and also the Plaintiff's
26 Request to Have Case Remanded Back to State Court.
27
28
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 1   2.     The Plaintiffls 42 U.S.C. § 1983 claim was correctly filed against California
 2 State University, and the individuals outlined in the suit, and additionally, the
 3   aforementioned Defendants are certainly not entitled to sovereign immunity as a
 4 condition of their actions.
 5
 6 3.       However, at this stage, the Plaintiff would request that the court give the
 7 Defendants exactly what they are asking for, and honor their request, in part, by
 8   dismissing the Plaintiffs 42 U.S.C. § 1983 claim, and its associated federal claims
 9 of civil rights violations, and as such the Plaintiff's case be remanded back to state
10 court.
11
12 4.       As a result of the dismissal, the court will no longer retain jurisdiction over
13 the Plaintiffs case, given that all that will remain are the Plaintiffls state claims
14 against the Defendant's, for which the Plaintiff asserted in the Claim for Damages
15   notice that was filed against California State University on January 13, 2017,for
16   which the Plaintiff does have a receipt, which indicates that the Defendant's
17 grounds for dismissal of the Plaintiff state claims, for not filing a claim for
18   damages in compliance with California Government Code section 905, are a
19 blatant lie in an attempt to weasel out of their lawsuit.
20
21   5.     On January 2, 2019, the Plaintiff met with the state court which was
22 originally assigned to the Plaintiffs case against the Defendants. The Plaintiff
23   notified the court that he intended to have the case that was removed to federal
24 court, remanded back to state court.
25
26 IC       The Plaintiff therefore asked that the state court reschedule the Case
27   Management Conference that was scheduled for that day, but to schedule it 5
28   months away in June, given that the Plaintiff was in no condition to move forward
                 Plaintiffs Response To Defendant's Motion To Dismiss
                                           a
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     1   with any legal proceedings due to a serious accident that he had just been in which
     2   was causing him a severe amount of pain, and grossly limiting his ability to move
     3   freely.
     4
     5   7.    The court honored the Plaintiffs request, citing his medical circumstance,
     6   and rescheduled the Case Management Conference hearing for June 5, 2019, at
     7   which point the Plaintiff intends to make arrangements with the court to submit an
     8   Amended complaint to resolve any deficiencies associated with newly intended
     9 remanded case.
10
11       8.    Given that the Plaintiff has yielded to the Defendant's request for dismissal
12       of his 42 U.S.C. § 1983 claim, and that as a result the court will no longer have
13       jurisdiction over the remaining state claims in the absence of his federal claims, tY
14 Plaintiff would request that the court take the Defendant's June 10, 2019 hearing
15       off calendar, and leave the matter to the state court to deal with.
16
17 May 20, 2019
18
19                                           Submitted by,
20
21
22                                                                             Andre
23
24
25
26
27
~►
                     Plaintiffs Response To Defendant's Motion To Dismiss
                                                    3
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 1                                PROOF OF SERVICE
2                          Case No. 2:18-cv-09832 PSG(RAOx)
 3
4 STATE OF CALIFORNIA, County of Los Angeles:
 5         On May 20, 2019, I served the attached
6 PLAINTIFF'S RESPONSE TO DEFENDANT'S MOTION TO DISMISS
  PLAINTIFF'S CLAIM AGAINST DEFENDANT CSU AND PLAINTIFF'S
7
  REQUEST TO HAVE CASE REMANDED BACK TO STATE COURT
8 upon attorney's for Interested Parties by placing enclosed documents in a sealed
9 envelope addressed to the persons at
10 David Adida
1 1 300 South Spring Street, Suite 1702
12 Los Angeles, CA 90013
13
   I declare under penalty of perjury under the laws of the State of California that the
14 foregoing is true and correct.
15
16 Executed on May 20, 2019, in Los Angeles, California.
17
18
19                                                                       Andre
20
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28
                 Plaintiffs Response To Defendant's Motion To Dismiss
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